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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                           :   Chapter 11
                                                                :
CHOXI.COM, INC., a/k/a NOMORERACK.COM, :                            Case No. 16-13131 (SCC)
INC.,
                                                                :
                                   Debtor.                      :
----------------------------------------------------------------x




                                         ORDER FOR RELIEF


        WHEREAS, on November 10, 2016, an involuntary petition (the “Involuntary

Petition”) seeking an order for relief under Chapter 7 of Title 11 of the United States Code

(the “Bankruptcy Code”) was filed against Choxi.com, Inc., a/k/a Nomorerack.com, Inc. (the

“Debtor”) by Sanders Collection, Inc., Consumer Shopping, Inc. and Elite Brands, Inc. (the

“Petitioning Creditors”) and a summons served on November 14, 2016;

        WHEREAS, the Debtor’s time to answer, move or otherwise respond to the

Involuntary Petition was December 5, 2016 pursuant to Rule 1011 of the Federal Rules of

Bankruptcy Procedure;

        WHEREAS, on December 5, 2016, the Debtor filed a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code (the “Chapter 11 Petition”);

        NOW, THEREFORE, it is hereby

        ORDERED, that relief under Chapter 11 of the Bankruptcy Code is hereby granted as

of the date of filing of the Chapter 11 Petition on December 5, 2016; and it is further




                                                         
 
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       ORDERED, that the Clerk is directed to serve a copy of this Order by mail upon the

Debtor, the United States Trustee and the Petitioning Creditors.




Dated: New York, New York
       December 9, 2016
                                             /S/ Shelley C. Chapman
                                             HONORABLE SHELLEY C. CHAPMAN
                                             UNITED STATES BANKRUPTCY JUDGE




                                                
 
